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 8                                UNITED STATES BANKRUPTCY COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10    In re:                                                    Case No.      19-10172

11    Gustavo Brambila and Jo Ann Brambila                      Chapter       12

12                    Debtor(s)                                    SECOND AMENDED
                                                                   CHAPTER 12 PLAN
13    _____________________________________/

14             Gustavo Brambila and Jo Ann Brambila, (collectively, the “Debtors”) propose this plan

15   of reorganization (the “Plan”) pursuant to the provisions of Chapter 12 of the Bankruptcy Code.

16             This Plan sets forth the Debtors’ proposal for the satisfaction of certain claims against the

17   Debtors. The Debtors hereby request that the Bankruptcy Court confirm the Plan. Further,

18   pursuant to 11 U.S.C. § 1222(c), Debtors herein request that payments on the Plan extend to five

19   (5) years.

20             The effective date (“Effective Date”) of the plan shall be the day the Bankruptcy Court

21   enters an order confirming the plan.

22                                                 ARTICLE I

23                    DESIGNATION OF CLASSES OF CLAIMS AND INTERESTS

24             The claims against the Debtors are designated and classified below for purposes of the

25   Plan.

26             1.1.    Class 1 (Secured Claim of Wells Fargo Bank, N.A., as Trustee for the

27   Certificate Holders of Banc of America Alternative Loan Trust 2003-8, Mortgage

28   Passthrough Certificates, Series 2003-8). Class 1 consists of the allowed secured claim of

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 1   Wells Fargo Bank, N.A., as Trustee for the Certificate Holders of Banc of America Alternative

 2   Loan Trust 2003-8, Mortgage Passthrough Certificates, Series 2003-8, or its assignee, secured by

 3   a first priority Deed of Trust relating to the real property commonly known as 1021 Lorraine Dr,

 4   Napa, CA 94558.

 5          1.2.     Class 2 (Priority Claims). Class 2 consists of allowed claims entitled to priority

 6   pursuant to 11 U.S.C. §507.

 7          1.3.    Class 3 (General Unsecured Claims). Class 3 consists of all allowed unsecured

 8   claims against the Debtors not included or provided for in any other class.
 9                                              ARTICLE II
10                         TREATMENT OF CLAIMS UNDER THE PLAN

11          2.1.     Class 1 is impaired. (Secured claim of Wells Fargo Bank, N.A., as Trustee

12   for the Certificate Holders of Banc of America Alternative Loan Trust 2003-8) The holder

13   of the Class 1 claim shall be paid an amount equal to the holder’s interest in the Debtors’ interest

14   in the collateral, to be determined in accordance with Section 506 of the Bankruptcy Code. The

15   payments shall be made in equal monthly installments of principal and interest at a market rate

16   based upon a 30-year amortization. The market rate shall be 4.5%, unless the court determines

17   otherwise. The value of the collateral shall be $1,323,850.00, unless the Court determines

18   otherwise. Such holder shall retain its interest in the collateral, subject to avoidance by the

19   Debtors of such interest pursuant to Section 506 of the Bankruptcy Code. If the Debtors are

20   reducing the amount to be paid on the secured creditor’s claim, Debtors shall file a separate

21   motion to determine the value of the property. Any escrow amounts due for property taxes or

22   insurance shall be paid through the Chapter 12 Trustee for the duration of the plan.

23          2.2.     Class 2 is impaired. (Priority Claims). The holders of Class 2 claims shall be

24   paid pro-rata, on a monthly basis, after payment of secured and administrative claims.

25          2.7.    Class 3 (General Unsecured Claims). The holders of Class 3 claims shall be

26   paid pro-rata after priority and administrative claims are paid in full. The amount to be paid to

27   this class shall be 100% of the claims of this class. Debtors estimate that holders of the allowed

28   unsecured claims would receive 100% if the estate were liquidated under Chapter 7 of the Code.

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 1                                              ARTICLE III

 2                   PLAN PAYMENTS AND EXPENSES OF ADMINISTRATION

 3           3.1      Payments. Commencing on the first month following the Effective Date of the

 4   Plan, Debtors shall make payments to the Trustee on a monthly basis. Payments shall be made

 5   on or before the 20th day of each month for the term of the plan.

 6           3.1.1. The plan payments are estimated to be $4,300.00 per month for 60 months. All

 7   impaired claims shall be paid through the Chapter 12 Trustee. The monthly payments on the

 8   individual impaired claims are estimated as follows:
 9                       Class 1 Claim (Claim of Wells Fargo Bank, N.A., as Trustee for the
10                       Certificate Holders of Banc of America Alternative Loan Trust 2003-8):
11                       estimated at $2,381.00 for 60 months. This amount includes escrow amounts
12                       due for property taxes and insurance. At the conclusion of the Plan, the
13                       Debtors shall make payments directly to the holder of the claim.
14                       Class 2 Claims shall be paid pro rata, on a monthly basis, after payment of all
15                       estimated payments listed above, and after payment of any administrative
16                       claims provided for in Section 3.1.3.
17                       Class 3 claims shall be paid pro-rata once all priority and administrative
18                       claims have been paid in full.

19           3.1.2    Trustee Fees. The Trustee shall be paid from Debtors’ payments as provided by

20   the Bankruptcy Code and 28 U.S.C. §586.

21           3.1.3. Debtors’ Counsel Fees. Counsel for Debtors has received a total of $2,000 prior to

22   the filing of the case. Counsel for Debtors shall apply to the Court for allowance of any future

23   fees or expenses. Any future administrative expenses that may be allowed to Debtors’ counsel

24   shall be disbursed by the Chapter 12 Trustee from funds paid to the Trustee by the Debtors. Said

25   funds shall be disbursed at a fixed monthly payment of $500 in conjunction with payments to

26   Class 1 Claim.

27   / / /

28   / / /

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 1                                               ARTICLE IV

 2                                            MISCELLANEOUS

 3           4.1.      De Minimis Distributions. Notwithstanding any other provision of the Plan,

 4   distributions of less than $100.00 need not be made on account of any allowed claim. Any

 5   distributions that would otherwise be made but for this provision shall carry over until the next

 6   distribution date until the cumulative amount to which any holder of an allowed claim is entitled

 7   to more than $100.00, at which time the cumulative amount of such distributions will be paid to

 8   such holder.
 9           4.2.      Vesting. The Debtors shall be revested with the assets of the estate on the

10   Effective Date of the Plan subject to the terms of the Plan.

11           4.3.      Post-Confirmation Management. After confirmation of the plan, the Debtors

12   shall be free to operate their farming operations without further supervision or control by the

13   Bankruptcy Court and free of any restrictions imposed by the Bankruptcy Code except as

14   provided in the Plan or by an order of the Bankruptcy Court. Specifically, and without limitation,

15   the Debtors may sell, lease, or refinance their property without further Order of Court, upon

16   written approval of the Chapter 12 Trustee.

17           4.4.      Tax Returns. The Debtors shall file all future tax returns and pay any and all

18   taxes owed on a timely basis. Copies of all filed returns shall be provided to Trustee within 30

19   days of filing.

20           4.5       Remedies Upon Default. If Debtors default under this plan or do not complete

21   the plan within 60 months, the Trustee, or any party in interest may request appropriate relief

22   pursuant to Local Bankruptcy Rules. This relief may consist of, without limitation, dismissal of

23   the case, or relief form the automatic stay to pursue rights against collateral.

24           4.6       Impermissible Provisions. Notwithstanding any other term in this plan, Debtors

25   do not seek through the confirmation and completion of this plan either a determination of

26   dischargeability of any debt or the discharge of any debt that is non-dischargeable as a matter of

27   law in a Chapter 12 Case under 11 U.S.C. §1228.

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 1   Dated: July 2, 2019                        /s/Gustavo Brambila         /s/Jo Ann Brambila
                                                Gustavo Brambila            Jo Ann Brambila
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 3   Dated: July 2, 2019                        /s/Evan Livingstone_____
                                                Evan Livingstone, Attorney for Debtors
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